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                 IN THE UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


  In Re Kevin Thunderbird                    )
                                             ) Case No. 14-07899
                        Debtor(s)            ) Chapter 13
                                             ) Judge Carol A. Doyle


                                 NOTICE OF MOTION

 To:

 Tom Vaughn, Chapter 13 Trustee, 55 East Monroe Street, Suite 3850, Chicago, IL
 60603, via electronic court notification;

 Kevin Thunderbird, 8440 S Green, Chicago, IL 60620, via U.S. mail;

 All creditors received notice via the attached Notice of 341 Meeting of Creditors.

 PLEASE TAKE NOTICE that on May 20, 2014, at 10:30 a.m. I shall appear before the
 Honorable Carol A. Doyle in Courtroom 742 at 219 South Dearborn Street, Chicago, IL
 60604 and present the attached motion and you may appear if you so choose. The
 Bankruptcy Court will hold a hearing to consider a request by Debtor(s) Counsel for
 payment of legal fees in the amount of $4000.00 plus expenses of $353.00, if there are no
 objections, the Court may confirm the plan and allow fees requested by Debtor’s counsel
 to be paid through the plan.

                                                      /s/ Brian R. Zeft
                                                      Attorney for Debtor
                                                      20 South Clark Street, 28th Floor
                                                      Chicago, IL 60603
                                                      (312) 913-0625

                                  PROOF OF SERVICE

 I, the undersigned, certify that I caused this Notice and a copy of the attached
 document(s) to be served upon the entities named above by deposition the same in the
 U.S. Postal Service’s mail box at 20 S. Clark Street, Chicago, IL 60603, on April 24,
 2014, except that the Trustee and any other party indicated in the Notice of Filing were
 served electronically by the court on such date.

                                                             /s/ Brian R. Zeft
                                                             Attorney for Debtor
      
       Case 14-07899 Doc 16 Filed 04/24/14 Entered 04/24/14 13:26:11 Desc Main
                                 
                                      Document      Page 2 of 4
                                                                       
                                      
                                                       
                
                                     





                                              




                                                                          
                                                        

                                
                                                          
                                        
                                                   



                                   
                         



                                                                   
                               
                                                   
                   
                                                                                            
                                                       
          
                                                  
                                        
                              

                                      
                    
                
    
                     
                                              




                                                          
                                                          
                                                            


         Case 14-07899        Doc UNITED
                                  16 Filed 04/24/14
                                         STATES     Entered 04/24/14
                                                 BANKRUPTCY   COURT 13:26:11                        Desc Main
                                        Document    Page 3 of 4
                                   NORTHERN DISTRICT OF ILLINOIS
                                                     
                                                    EASTERN   DIVISION
In re:
                                             )       Case No. 
                                                             )       Hearing Date:      
          Debtor(s)                                          )       Judge      
    ATTORNEY’S APPLICATION FOR COMPENSATION FOR REPRESENTING CHAPTER 13 DEBTOR(S)




Use of Court-Approved Retention Agreement:
                                
Attorney Certification:




                      
Compensation for services previously awarded in this case:
          

Compensation for services now sought in this case:
            


Reimbursement now sought for expenses advanced by the attorney:
           
            



            

Additional expenses incurred in the case for which the attorney is not seeking reimbursement (either paid by the
debtor(s) directly or paid by the attorney with funds provided by the debtor(s)):




                               




Funds received from debtor for services and expenses advanced by the attorney:

           



Itemization of time:   
                                                                         
                                                                   
                                                                   
                                                                 
                                                                
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                             EXPENSES

 Expense                 Date Incurred           Total Charge




                                TOTAL CHARGE
